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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

GABRIEL ARRIES,                              )
                                             )
      Plaintiff,                             )
                                             )     CIVIL ACTION FILE NO.:
v.                                           )     1:21-CV-03588-SDG
                                             )
VICTOR HILL, ET AL.                          )
                                             )
      Defendants.                            )
                                             )

 MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’ MOTION
          TO DISMISS PLAINTIFF’S COMPLAINT

      Defendants Victor Hill, Rashawn Johnson, James Stewart, Jr., Jelani Foster,

Montez Hawkins, Sydney Cannon, David Evans, and Benjamin Walker, Jr.

(hereinafter “defendants”) file this memorandum of law in support of their motion

to dismiss plaintiff’s complaint (Doc. 1).

                             I.     INTRODUCTION

      This is a Section 1983 civil rights lawsuit filed by plaintiff Gabriel Arries

(“plaintiff”) who complains of his treatment while he was incarcerated at the

Clayton County Jail (“CCJ”). (Doc. 1.) Plaintiff alleges that on February 5, 2021,

he was arrested for disorderly conduct at the Hartsfield-Jackson Airport by Atlanta

Police Department and then transported to the CCJ. (Id., ¶ 20.) Upon arrival,

plaintiff admits that he was “combative” and shouted “racial epithets at the
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Sheriff’s deputies.” (Id., ¶¶ 21-23.) Plaintiff criticizes his treatment thereafter and

alleges that he was subject to multiples incidents of force by defendants at the CCJ,

including being physically struck, placed in a restraint chair, and tased. Plaintiff

also alleges that he was placed in suicide watch and had an altercation with his

cellmate. Plaintiff ultimately was transported to Atlanta Medical Center, where he

alleges that he was diagnosed with a brain injury. (Id., ¶¶ 24-33.)

      Based on the foregoing, plaintiff now brings this action against eight

Sheriff’s Office defendants – Sheriff Victor Hill, Rashawn Johnson, James

Stewart, Jr., Jelani Foster, Montez Hawkins, Sydney Cannon, David Evans, and

Benjamin Walker, Jr. – as well as “John Does 1-2” all in their individual

capacities.   Under Section 1983, plaintiff alleges excessive force claims in

violation of the Fourteenth Amendment against Johnson, Stewart, Hawkins, Foster,

Cannon, Evans, and Walker (Count I), a supervisory liability claim against Sheriff

Hill (Count II), and a deliberate indifference to a serious medical need claim in

violation of the Fourteenth Amendment against all defendants (Count IV). Under

Georgia law, plaintiff asserts claims of assault, battery, and reckless conduct

against Johnson, Stewart, Hawkins, Foster, Cannon, Evans, and Walker, only

(Count III). Based on these claims, plaintiff also seeks compensatory and punitive

damages as well as attorney’s fees under Section 1988. (Count V and Prayer for

Relief.)


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      Defendants now move to dismiss all of plaintiff’s claims against them for

several reasons. First, plaintiff’s federal claims are barred by qualified immunity.

Second, plaintiff’s state law claims are barred by official immunity.           Third,

plaintiff’s claims against the “John Doe” defendants are subject to dismissal

because fictious party practice is not permitted in federal court. Finally, given that

plaintiff’s underlying claims are subject to dismissal, plaintiff’s claims for punitive

damages and attorney’s fees are subject to dismissal as well, and plaintiff’s

complaint otherwise fails to allege facts to support these claims. For these reasons,

plaintiff’s complaint should be dismissed.

           II.    ARGUMENT AND CITATION OF AUTHORITY

A.    Plaintiff’s Federal Claims Are Barred By Qualified Immunity (Counts
      I, II, and IV)

      Qualified immunity “shields officers from civil liability so long as their

conduct does not violate clearly established statutory or constitutional rights of

which a reasonable officer would have known.” Mullenix v. Luna, 136 S.Ct. 305,

308 (2015). Significantly, the immunity is “from suit rather than a mere defense to

liability.” Mitchell v. Forsyth, 472 U.S. 511, 525 (1985). As such, the Supreme

Court has “stressed the importance of resolving immunity questions at the earliest

possible stage in litigation.” Hunter v. Bryant, 502 U.S. 224, 227 (1991).




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      To claim qualified immunity, defendants must first show that they were

performing discretionary functions. Barnes v. Zaccari, 669 F.3d 1295, 1303 (11th

Cir. 2012).    Plaintiff alleges that all defendants are sued in their “individual

capacity for acts committed during the course and scope of [their] employment,” as

sworn members of the Clayton County Sheriff’s Department, and acting under

color of law.      (Doc. 1, ¶¶ 5-12, 18-19.) Therefore, there is no dispute that

defendants were acting within their discretionary authority for purposes of

qualified immunity. Holloman ex rel. Holloman v. Harland, 370 F.3d 1252, 1265

(11th Cir. 2004).     Plaintiff, in turn, bears the burden of demonstrating that

defendants are not entitled to qualified immunity. Crosby v. Monroe Cnty., 394

F.3d 1328, 1332 (11th Cir. 2004). To meet his burden, plaintiff must show that:

(1) each defendant violated his constitutional rights, and (2) each defendant’s

conduct was prohibited by clearly established law. Plumhoff v. Rickard, 134 S. Ct.

2012, 2020 (2014). As shown below, plaintiff cannot meet his burden on both of

these prongs. Therefore, defendants are entitled to qualified immunity.

      1.      No Constitutional Violation

              a.     Physical Force And Use Of Restraint Chair

       “The Due Process Clause [of the Fourteenth Amendment] protects a pretrial

detainee from the use of excessive force that amounts to punishment.” Jacobs v.

Georgia, No. 20-10036, 2020 U.S. App. LEXIS 21125, at *9 (11th Cir. July 8,


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2020) (citing Kingsley v. Hendrickson, 576 U.S. 389 (2015)). “[A] pretrial

detainee’s Fourteenth Amendment excessive-force claim is governed by a rule of

‘objective reasonableness.’” Patel v. Lanier Cty. Ga., No. 19-11253, 2020 U.S.

App. LEXIS 25345, at *9 (11th Cir. Aug. 11, 2020) (citing Kingsley, 576 U.S. at

389). This objective reasonableness standard mirrors the standard an arrestee must

meet to plead a violation of the Fourth Amendment. See Graham v. Connor, 490

U.S. 386, 397 (1989) (stating that in an excessive force case the question is

whether the officers’ actions are objectively reasonable in light of the facts and

circumstances confronting them); Piazza v. Jefferson Cty., 923 F.3d 947, 953 (11th

Cir. 2019) (“the Fourteenth Amendment standard has come to resemble the test

that governs excessive-force claims brought by arrestees under the Fourth

Amendment.”).

      This is a fact specific inquiry based on “the perspective of a reasonable

officer on the scene, including what the officer knew at the time, not with the 20/20

vision of hindsight,” taking into account the legitimate need of jail officials to

maintain order and discipline in their facilities. Kingsley, 576 U.S. at 396-97. In

determining the reasonableness of the force used, courts consider several factors,

including, but not limited to:

             the relationship between the need for the use of force and
             the amount of force used; the extent of plaintiff’s injury;
             any effort made by the officer to temper or to limit the
             amount of force; the severity of the security problem at
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              issue; the threat reasonably perceived by the officer; and
              whether the plaintiff was actively resisting.

Id. at 397.

      Here, plaintiff alleges that he arrived at the CCJ after being arrested by

Atlanta Police for disorderly conduct at the Hartsfield-Jackson Airport. (Doc. 1, ¶

20.) Upon arrival, plaintiff was combative and shouted racial epithets at Sheriff’s

deputies, so he was pinned to the wall, forced to the ground, and carried to the

shower dress out area where plaintiff alleges that he was “struck” by Stewart,

Johnson, Hawkins, Cannon, and Walker and placed in a restraint chair. (Id., ¶¶ 23-

27.) Plaintiff alleges that this conduct constitutes excessive force in violation of his

rights under the Fourteenth Amendment. (Id., ¶¶ 36-37.)

      The physical force used in response to plaintiff’s combative behavior and

abusive and threating hate speech was objectively reasonable under the totality of

the circumstances. Indeed, at best, defendants’ alleged conduct constitutes a de

minimis use of physical force to maintain order and to control a combative and

unruly detainee. The use of force was objectively reasonable.1 Piazza, 923 F.3d at


1
   The decisions rendered in Vinyard v. Wilson, 311 F.3d 1340 (11th Cir.
2002), Nolin v. Isbell, 207 F.3d 1253 (11th Cir. 2000), and Jones v. City of
Dothan, 121 F.3d 1456 (11th Cir. 1997) are instructive. In Vinyard, the Eleventh
Circuit concluded that where an officer grabbed the plaintiff’s arm, jerked her out
of a chair, handcuffed her behind her back, and later dragged her into the jail by
either her shirt, arm, or hair, the force applied was de minimis. Vinyard, 311 F.3d
at 1349 n.13. Likewise, in Nolin, the Eleventh Circuit held that where an officer
grabbed the plaintiff from behind by the shoulder and wrist, threw him against a
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953 (“legitimate interests”—including the need to “preserve internal order and

discipline” and “maintain institutional security”—may at times require jail officers

to use force).

      As for the use of the restraint chair, courts have held that when restraints are

not used for the purpose of inflicting pain, their use does not violate the

constitution.    See, e.g., Williams v. Burton, 943 F.2d 1572 (11th Cir. 1991)

(affirming summary judgment to the defendants and finding that there was no

constitutional violation because the restraints were not used to inflict pain, but

were ordered to prevent plaintiff from encouraging unrest in a volatile prison

situation and to protect the prison officials). Here, plaintiff arrived at the CCJ on a

charge of disorderly conduct and became combative and started shouting racist

remarks. The use of the restraint chair under these circumstances was objectively

reasonable.      Therefore, plaintiff’s complaint fails to allege a constitutional

violation based on the physical force and use of the restraint chair.




van, kneed him in the back, pushed his head into the side of the van, searched his
groin in an uncomfortable manner, and handcuffed him, the force applied was de
minimis. Nolin, 207 F.3d at 1258-59. Finally, in Jones, the Eleventh Circuit found
that where an officer slammed the plaintiff against a wall, kicked his legs apart,
required him to put his arms above his head, and pulled his wallet from his pants,
the force applied was de minimis notwithstanding any pain the plaintiff
experienced from “having to lift his arms since he had previously suffered a
stroke,” and notwithstanding any pain the plaintiff experienced from “his arthritic
knee from having his legs kicked apart.” Jones, 121 F.3d at 1460.

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             b.     Placement In Medical Holding Cell With Another Inmate

      A jailer’s deliberate indifference to a known and substantial risk of serious

harm to an inmate is a constitutional violation. See Helling v. McKinney, 509 U.S.

25 (1993); Marsh v. Butler Cnty., 268 F.3d 1014, 1028 (11th Cir. 2001). A jailer

may be held liable under the Constitution for acting with “deliberate indifference”

to an inmate’s safety when the official knows that the inmate faces a substantial

risk of serious harm and disregards that risk by failing to take reasonable measures

to abate it. Farmer v. Brennan, 511 U.S. 825 (1994).

      Here, plaintiff alleges that he suffers from bipolar and mood disorder and

that Evans believed that plaintiff “wanted to kill himself.” (Doc. 1, ¶¶ 20, 28.)

Plaintiff alleges that Foster and Evans placed him “on suicide watch in medical

holding cell 7 with another inmate” where an altercation allegedly occurred. (Id.,

¶¶ 28, 29, 51, 53.) To the extent plaintiff is asserting a failure to protect claim

based on this altercation, plaintiff fails to allege sufficient facts to support a

constitutional violation. Plaintiff’s allegations independently support the decision

to place plaintiff in a medical holding cell and under suicide watch. Although

plaintiff claims he had an altercation with his cellmate, plaintiff fails to allege any

facts to show that Evans or Foster subjectively knew that this was going to occur.

Thus, plaintiff fails to allege facts to demonstrate that Evans or Foster acted with

deliberate   indifference   to   plaintiff’s   safety.      Holley    v.   Doe,    No.


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3:19cv150/RV/EMT, 2019 U.S. Dist. LEXIS 159928, at *11 (N.D. Fla. Aug. 28,

2019) (placement of “high custody” inmates in plaintiff’s “low custody” dorm

without subjective knowledge that doing so placed plaintiff at risk of serious harm

insufficient to establish constitutional inability).2

             c.     Use Of Taser

      Plaintiff alleges that Foster tased him during the altercation between plaintiff

and his cellmate. (Doc. 1, ¶¶ 29-30.) Under the objective reasonableness standard

enunciated above, however, the use of the taser (non-lethal force) under the totality

of the circumstances was justified for institutional safety and to break-up the

altercation, and presumably to avoid injuries to plaintiff, his cellmate, and others.

2
  See, e.g., Goodman v. Kimbrough, 718 F.3d 1325 (11th Cir. 2013) (finding no
evidence that jail officials were subjectively aware of a risk of harm to pretrial
detainee who was severely beaten by cellmate, and that officials deliberately
disregarded that risk, because officers’ failure to conduct cell checks and head
counts and their deactivation of emergency call buttons constituted negligence but
did not justify constitutional liability under § 1983); Carter v. Galloway, 352 F.3d
1346 (11th Cir. 2003) (finding inmate failed to establish claim for deliberate
indifference based on prison officials’ failure to protect inmate from attack by
cellmate; although prison officials knew that cellmate was a “problem inmate”
with a well-documented history of prison disobedience and had been prone to
violence, and specific notice had been provided by inmate that cellmate was acting
crazy and roaming his cell like a “caged animal,” officials’ generalized awareness
of risk did not satisfy the subjective awareness requirement); Reid v. Polk, No.
3:14-CV-1408, 2018 U.S. Dist. LEXIS 47197 (M.D. Fla. Mar. 22, 2018)
(Plaintiff’s generalized fear of “convicted murderers” and “gang members” housed
in his dormitory who could potentially harm him, rather than a specific and
particularized threat of harm by either a specific inmate, cellmate, or group of
inmates, was insufficient to state an Eighth Amendment claim); Brown v. Hughes,
894 F.2d 1533, 1537 (11th Cir. 1990) (merely negligent failure to protect an
inmate from attack does not justify liability under section 1983).
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Therefore, Foster’s alleged use of the taser did not violate plaintiff’s constitutional

rights. Graham, 490 U.S. at 396. See, e.g., Traylor v. City of Huntsville, No. 5:14-

cv-01565-RDP-SGC, 2015 U.S. Dist. LEXIS 98172, at *6 (N.D. Ala. June 25,

2015) (finding that complaint fails to state a constitutional violation where the

plaintiff was tased while engaged in a fight with another inmate, “a situation that

easily could have escalated into a serious safety and security problem for the staff

and other prisoners, and one which normally would require an immediate and

forceful response by prison staff.”).

             d.     No Supervisory Liability Against Sheriff Hill (Count II)

      Absent an underlying constitutional violation by one of Sheriff Hill’s

employees, the Sheriff cannot be held liable under Section 1983. Case v. Eslinger,

555 F.3d 1317, 1327 (11th Cir. 2009) (absent a violation of plaintiff’s

constitutional rights, sheriff and city entitled to summary judgment). Therefore,

because plaintiff’s complaint fails to allege an underlying constitutional violation

as discussed above, plaintiff’s supervisory claim against Sheriff Hill (Count II) is

subject to dismissal for this reason alone.

      Even if plaintiff’s complaint alleges facts sufficient to establish an

underlying constitutional violation by someone employed by the Sheriff, which it

does not, plaintiff’s supervisory liability claim against the Sheriff is still subject to

dismissal. Indeed, “[i]t is well-established that § 1983 claims may not be brought


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against supervisory officials on the basis of vicarious liability or respondeat

superior.” Amnesty Int’l, USA v. Battle, 559 F.3d 1170, 1180 (11th Cir. 2009).

Rather, a supervisor can only be held liable under Section 1983 when “the

supervisor personally participates in the alleged constitutional violation or when

there is a causal connection between actions of the supervising official and the

alleged constitutional violation.” Mathews v. Crosby, 480 F.3d 1265, 1270 (11th

Cir. 2007). As shown below, plaintiff fails to allege sufficient facts to establish

supervisory liability against Sheriff Hill.

                    i.     No Personal Participation

      Plaintiff does not allege any personal participation by Sheriff Hill

whatsoever. (Doc. 1.) Plaintiff does not contend that Sheriff Hill himself used

force or was personally involved with plaintiff.       (Id.)   Therefore, plaintiff’s

complaint fails to allege supervisory liability against the Sheriff under a personal

participation theory.

                    ii.    No Causal Connection

      In addition, plaintiff does not allege facts to establish a “causal connection”

between any actions of Sheriff Hill and any violation of his constitutional rights.

The necessary causal connection can be established when: (1) a “history of

widespread abuse” puts the supervisor on notice of the need to correct the alleged

deprivation, and he fails to do so; (2) a supervisor’s custom or policy results in


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deliberate indifference to constitutional rights; or (3) facts support an inference that

the supervisor directed subordinates to act unlawfully or knew that subordinates

would act unlawfully and failed to stop them from doing so. Crosby, 480 F.3d at

1270.

        First, plaintiff does not allege a “history of widespread abuse” at the CCJ

which put Sheriff Hill on notice of a need to correct a known deficiency and that

he failed to do so. While plaintiff alleges that Sheriff Hill has been indicted for the

use of “the inmate restraint chair to inflict punishment on certain inmates” (Doc. 1,

¶ 43), plaintiff fails to allege any similarities between the use of the restraint chair

on plaintiff and these prior incidents. More importantly, plaintiff cites no prior

incidents that resulted in a finding that anyone’s constitutional rights have

previously been violated by the use of the restraint chair at the CCJ. Therefore,

plaintiff fails to allege any facts that the Sheriff was on notice of a need to change

any policies or training at CCJ and failed to do so. Watkins v. Willson, 824 F.

App’x 938, 941 (11th Cir. 2020) (“a plaintiff ordinarily must show a pattern of

similar constitutional violations by untrained employees because [w]ithout notice

that a course of training is deficient in a particular respect, decisionmakers can

hardly be said to have deliberately chosen a training program that will cause

violations of constitutional rights.”).




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       Second, plaintiff fails to allege sufficient facts to show that a custom or

policy of Sheriff Hill resulted in a deliberate indifference to plaintiff’s

constitutional rights. (Doc. 1.) Plaintiff alleges that Sheriff Hill was “grossly

negligent in his supervision” and that he “has exhibited a pattern, policy, and

custom of violation the rights of the citizens of Georgia” such that his employees’

alleged misconduct “is affirmatively linked” to the Sheriff.         (Id., ¶¶ 16, 41.)

Plaintiff also alleges that Sheriff Hill has a “pattern, policy, and custom” of

unreasonably placing detainees in the restraint chair and permitting excessive use

of force. (Id., ¶ 42.) Yet, plaintiff offers no factual allegations to corroborate these

contentions, and these conclusory allegations are insufficient to state a claim. See

Smith v. Owens, No. 14-14039, 2015 WL 4281241, at *3 (11th Cir. July 16, 2015)

(finding conclusory allegation of improper custom resulting in deliberate

indifference insufficient to state a claim); McClendon v. City of Sumiton, Ala., No.

2:14-CV-00150-AKK, 2015 WL 2354187, at *3 (N.D. Ala. May 15, 2015)

(“[C]onclusory allegations are insufficient to support a claim…for deliberate

indifference, ratification, or purported ‘custom and policy liability.’”).

      Finally, while plaintiff vaguely alleges that there are policies in place at the

CCJ that are linked to the subject incident, and offers a generalized conclusion that

it is the Sheriff’s policy to employ deputies who are “prone to using unreasonable

and excessive force against detainees” (Id., ¶¶ 44, 45), plaintiff has only alleged an


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“isolated occurrence” which is insufficient to establish supervisory liability. Harris

v. Goderick, 608 F. App’x 760, 763 (11th Cir. 2015) (“[A] single isolated incident

is insufficient to establish a custom or policy under § 1983.”); Hawk v. Klaetsch,

522 Fed. Appx. 733 (11th Cir. 2013) (“We fail to see how three incidents over the

span of nearly five years can constitute frequent, widespread, or rampant abuse.”);

Braddy v. Florida Dep’t of Labor & Employment Sec., 133 F.3d 797, 802 (11th

Cir. 1998) (“The deprivations that constitute widespread abuse sufficient to notify

the supervising official must be obvious, flagrant, rampant, and of continued

duration, rather than isolated occurrences.”).

      Plaintiff’s complaint falls woefully short of establishing any constitutional

violation by Sheriff Hill either personally or by any deliberate indifference.

Therefore, plaintiff’s supervisory liability claim is subject to dismissal for failure

to state a claim. See Faulkner v. Monroe Cnty. Sheriff’s Dep’t, 523 F. App’x 696,

701 (11th Cir. 2013) (finding that the plaintiff’s claim based on the theory of

supervisory liability was subject to dismissal because the plaintiff did not establish

a causal connection between the defendant’s actions and the alleged constitutional

deprivation).




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             e.     No Deliberate Indifference To Medical Needs (Count IV)

      Claims of deliberate indifference to the serious medical needs of pretrial

detainees are governed by the Fourteenth Amendment’s Due Process Clause rather

than by the Eighth Amendment’s Cruel and Unusual Punishment Clause, which

governs similar claims by convicted prisoners. Lancaster v. Monroe County, Ala.,

116 F.3d 1419, 1425 n. 6 (11th Cir. 1997). To prevail on this constitutional claim,

a pretrial detainee must allege acts or omissions that rise to the level of “deliberate

indifference.” Estelle v. Gamble, 429 U.S. 97, 106 (1976). “First, he must prove

an objectively serious medical need. Second, he must prove that the government

official acted with deliberate indifference to that need.” Andujar v. Rodriguez, 486

F.3d 1199, 1203 (11th Cir. 2007) (internal citations and quotations omitted).

Applying this standard, plaintiff’s claim against “defendants” is subject to

dismissal.

      While plaintiff’s complaint appears to allege a “serious medical need” by

virtue of his alleged brain injury, plaintiff must also allege facts establishing that

each defendant acted with deliberate indifference to this serious medical need to

state a claim. “An official acts with deliberate indifference when that official

knows that an inmate is in serious need of medical care but fails or refuses to

obtain proper treatment.” Burley v. Upton, 257 F. App’x 207, 210 (11th Cir.

2007). To prove deliberate indifference, a plaintiff must show: “(1) subjective


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knowledge of a risk of serious harm; (2) disregard of that risk; and (3) conduct that

is more than mere negligence.” Brown v. Johnson, 387 F.3d 1344, 1351 (11th Cir.

2004). “An inadvertent failure to provide adequate medical care’” is not sufficient.

Faulkner v. Monroe Cnty. Sheriff’s Dep’t, 523 F. App’x 696, 700 (11th Cir. 2013);

Burley, 257 F. App’x at 210. Furthermore, an official’s failure to alleviate a

significant risk that he should have perceived but did not cannot be condemned as

the infliction of punishment. Farmer v. Brennan, 511 U.S. 825, 838 (1994).

      Here, plaintiff alleges that he was placed in a “medical holding cell” with

open wounds and that it was not until “[m]any hours later” that he was taken to the

infirmary and then transported to Atlanta Medical Center where he was diagnosed

with a brain injury. (Doc. 1, ¶¶ 30-33.) However, plaintiff does not allege facts to

show that each defendant knew of plaintiff’s brain injury and deliberately

disregarded getting him treatment.        Plaintiff’s aggregate claim against all

defendants, moreover, is insufficient to state a claim. Parker v. Brush Wellman,

Inc., 377 F. Supp. 2d 1290, 1294 (N.D. Ga. 2005) (“the Federal Rules do not

permit a party to aggregate allegations against several defendants in a single,

unspecified statement, but instead require the pleader to identify (albeit generally)

the conduct of each defendant giving rise to his claims.”); Magluta v. Samples, 256

F.3d 1282, 1284 (11th Cir. 2001) (finding a complaint is a “quintessential

‘shotgun’ pleading” where the “complaint is replete with allegations that ‘the


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defendants’ engaged in certain conduct, making no distinction among the fourteen

defendants charged, though geographic and temporal realities make plain that all of

the defendants could not have participated in every act complained of.”).

      Finally, there is no allegation that plaintiff received his brain injury

diagnosis at the CCJ or that any of the named defendants could have known of

same. In fact, plaintiff admits that he was not diagnosed with the brain injury until

after he was taken to Atlanta Medical Center. (Id., ¶¶ 32-33.) Therefore, because

plaintiff’s complaint fails to allege facts to show that each defendant knew that

plaintiff had a brain injury yet made a conscious and deliberate choice to do

nothing – and in fact plaintiff alleges that he was treated by medical staff at the

CCJ, taken to the infirmary, and then transported to Atlanta Medical Center (Id., ¶¶

31-33) – plaintiff’s deliberate indifference to a serious medical need claim is

subject to dismissal.

      2.     No Violation of Clearly Established Law

      Even if plaintiff’s complaint alleges sufficient facts to establish a

constitutional violation, defendants are still entitled to qualified immunity because

they did not violate clearly established law.     “[T]he purpose of the qualified

immunity doctrine is to give meaning to the proposition that ‘[g]overnment

officials are not required to err on the side of caution’ when it comes to avoiding

constitutional violations.” See Crosby v. Monroe Cty., 394 F.3d 1328, 1334 (11th


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Cir. 2004). Qualified immunity protects “all but the plainly incompetent or those

who knowingly violate the law.” Malley v. Briggs, 475 U.S. 335 (1986). It is a

plaintiff’s burden to overcome qualified immunity by pointing to specific actions

of an officer which violate clearly established law. Montoute v. Carr, 114 F.3d

181, 184 (11th Cir. 1997) (“Once an officer or official has raised the defense of

qualified immunity, the burden of persuasion as to that issue is on the plaintiff.”).

“This burden is not easily discharged: That qualified immunity protects

government actors is the usual rule; only in exceptional cases will government

actors have no shield against claims made against them in their individual

capacities.” Jones v. Ward, 514 F. App’x 843, 846-47 (11th Cir. 2013).

      The Eleventh Circuit has held “many times” that “if case law, in factual

terms, has not staked out a bright line, qualified immunity almost always protects

the defendant.” Priester v. City of Riviera Beach, 208 F.3d 919, 926 (11th Cir.

2000). A “plaintiff cannot rely on general, conclusory allegations or broad legal

truisms to show that a right is clearly established.” Kelly v. Curtis, 21 F.3d 1544,

1550 (11th Cir. 1994); White v. Pauly, 137 S. Ct. 548, 552 (2017) (reiterating the

longstanding principle that clearly established law should not be defined at a high

level of generality and must be particularized to the facts of the case). The law can

be clearly established for qualified immunity purposes only by decisions of the

United States Supreme Court, the Eleventh Circuit Court of Appeals, or the


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Georgia Supreme Court. Jenkins v. Talladega City Bd. of Educ., 115 F.3d 821,

823 n. 4 (11th Cir. 1997).

      Here, plaintiff alleges that the “conduct of Defendants violated clearly

established statutory and constitutional rights.” (Doc. 1, ¶ 15.) However, plaintiff

fails to cite any controlling precedent particularized to the facts of this case that

clearly establishes that plaintiff’s placement in a restraint chair, any use of force,

his medical treatment, or any conduct whatsoever on or around February 5, 2021

(the date alleged in the complaint) clearly violated plaintiff’s constitutional rights.

Nor would it have been obvious to every objectively reasonable government

official that the conduct under the circumstances alleged in the complaint violates

federal law. Because plaintiff cannot sustain his burden of citing controlling and

materially similar case law that would establish that each of the named defendants

violated clearly established law, they are entitled to qualified immunity for this

reason alone.

B.    Plaintiff’s State Law Claims Are Barred By Official Immunity (Count
      III)

      Plaintiff’s state law claims must be dismissed because defendants are

entitled to official immunity. The doctrine of official immunity is enshrined in the

Georgia Constitution. Ga. Const. of 1983, Art. I, Sec. II, Par. IX(d). Under the

doctrine, “while a public officer or employee may be personally liable for his

negligent ministerial acts, he may not be held liable for his discretionary acts
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unless such acts are willful, wanton, or outside the scope of his authority.” Gilbert

v. Richardson, 264 Ga. 744, 752, 452 S.E.2d 476, 482 (1994) (citation omitted)

(emphasis added); see Murphy v. Bajjani, 282 Ga. 197, 198, 647 S.E.2d 54, 65-57

(2007). In other words, “a public officer or employee may be personally liable

only for ministerial acts negligently performed or [discretionary] acts performed

with malice or an intent to injure.” Golden v. Vickery, 285 Ga. App. 216, 217, 645

S.E.2d 695, 696 (2007).

      This immunity protects government employees’ ability to act upon their

judgment and discretion in the performance of their duties. See Cameron , 274 Ga.

at 123, 549 S.E.2d at 344. Whether a defendant is entitled to official immunity is a

question of law that must be decided by the court as a “threshold issue.” Id. at 124,

549 S.E.2d at 345. As discussed below, because defendants were at all times

performing discretionary acts without actual malice or actual intent to cause injury,

they are each entitled to official immunity.

      1.     Defendants Were Performing Discretionary Functions

      “A ministerial act is commonly one that is simple, absolute, and definite,

arising under conditions admitted or proved to exist, and requiring merely the

execution of a specific duty.” Common Cause/Georgia v. Cty. of Atlanta, 279 Ga.

480, 482, 614 S.E.2d 761, 764 (2005). “A discretionary act, however, calls for the

exercise of personal deliberation and judgment, which in turn entails examining the


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facts, reaching reasoned conclusions, and acting on them in a way not specifically

directed.” Id.

      Although plaintiff’s state law count is difficult to discern given the shotgun

nature of the allegations, plaintiff appears to be asserting state law claims of

battery, assault, and “reckless conduct” against defendants Johnson, Stewart,

Hawkins, Foster, Cannon, Evans, and Walker. (Doc. 1, Count III, ¶ 55.) In

support of these claims, plaintiff asserts that defendants Johnson, Stewart,

Hawkins, Foster, Cannon, Evans, and Walker allegedly restrained him and

repeatedly struck him (Id., ¶¶ 49, 56), plaintiff criticizes Foster and Evans for

placing him in a mental health holding cell with a “violent offender” (Id., ¶¶ 51,

53), and plaintiff challenges the alleged use of a taser by Foster (Id., ¶ 54). Georgia

courts, however, have consistently held that these are the types of functions that are

discretionary in nature. See, e.g., Williams v. Boehrer, 530 F. App’x 891, 896

(11th Cir. 2013) (finding that for purposes of official immunity that use of force is

a discretionary act); Harvey v. Nichols, 260 Ga. App. 187, 191-92, 581 S.E.2d 272,

276-77 (2003) (holding that the decision to place an inmate in a holding cell rather

than the general population was discretionary).

      2.     No Actual Malice Or Actual Intent To Injure

      Because defendants were at all times performing discretionary functions,

they are each entitled to official immunity unless plaintiff can show that they each


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acted with “actual malice [which] requires a deliberate intention to do wrong and

denotes express malice or malice in fact.” Adams v. Hazelwood, 271 Ga. 414,

414-15, 520 S.E.2d 896, 898 (1999); Griswold v. Collins, 318 Ga. App. 556, 558,

734 S.E.2d 425, 427 (2012) (“actual malice requires a showing that the actor had a

deliberate intention to do wrong…and that [w]illful conduct is based on an actual

intention to do harm or inflict injury”).        “[T]he actual malice necessary to

overcome official immunity must be the intent to cause the harm suffered by the

plaintiff.” Campbell v. Goode, 304 Ga. App. 47, 49, 695 S.E.2d 44, 46 (2010)

(emphasis added).

      Here, nowhere in plaintiff’s complaint does he allege any facts to show that

defendants, each, acted with actual malice or the actual intent to cause plaintiff

injury. (Doc. 1.) Rather, plaintiff admits that he was combative and was shouting

racial epithets to the Sheriff’s deputies. (Id., ¶ 23.) While plaintiff baldly alleges

that defendants acted “intentional,” “malicious,” “with actual malice,” “willful,”

“wanton,” and “indifferent” (Id., ¶¶ 15, 49, 50), these legal conclusions without

any factual support are insufficient to overcome official immunity. Murphy, 282

Ga. at 203, 647 S.E.2d at 60 (finding that allegation of “malice” was insufficient to

rise to the level of “actual malice” necessary to overcome official immunity);

Harper v. Perkins, 459 F. App’x 822, 828 (11th Cir. 2012) (“we cannot rely on

[plaintiff’s] legal assertions of actual malice in the complaint” for purposes of a


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motion to dismiss); Davila v. Delta Air Lines, Inc., 326 F.3d 1183, 1185 (11th Cir.

2003) (stating that “conclusory allegations, unwarranted factual deductions or legal

conclusions masquerading as facts will not prevent dismissal”); Richardson v.

Quitman Cnty., Ga., 912 F. Supp. 2d 1354, 1381 (M.D. Ga. 2012) (noting that

plaintiffs’ reference to malicious intent in complaint did not impact the Court’s

decision on official immunity due the “utter lack of argument addressing specific

acts of specific Defendants”). See also Hanse v. Phillips, 276 Ga. App. 558, 563,

623 S.E.2d 746, 750 (2005) aff’d, 281 Ga. 133, 637 S.E.2d 11 (2006) (finding that

“[w]ilful, wanton and reckless conduct does not equate with the actual malice

necessary to defeat a claim of official immunity”).

      In sum, plaintiff’s complaint fails to allege any facts to show that defendants

acted with actual malice or an actual intent to injure plaintiff and his legal

conclusions are insufficient to survive a motion to dismiss. Plaintiff’s state law

claims, therefore, must be dismissed based on official immunity.

C.    No Viable Claim Against “John Doe” Defendants

      Although plaintiff has named as defendants “John Does 1-2,” such claims

are a nullity because “fictitious party practice is not permitted in federal court.”

New v. Sports & Rec., 114 F.3d 1092, 1094 n. 1 (11th Cir. 1997). Accordingly,

the “John Doe” defendants must be dismissed.




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D.    Punitive Damages And Attorney’s Fees Claims Subject To Dismissal

      Plaintiff has requested an award of punitive damages and attorney’s fees

against defendants.    (Count V and Prayer for Relief.)        However, should the

underlying claims be dismissed, plaintiff’s claims for attorney’s fees and punitive

damages would also be subject to dismissal. See J. Andrew Lunsford Properties,

LLC v. Davis, 257 Ga. App. 720, 722, 572 S.E.2d 682, 685 (2002) (“[T]he claims

seeking attorney fees and punitive damages were properly dismissed as derivative

of the other dismissed claims.”); OFS Fitel, LLC v. Epstein, Becker & Green, P.C.,

549 F.3d 1344, 1357 (11th Cir. 2008) (finding that plaintiffs’ claims for punitive

damages and attorney’s fees cannot survive without an underlying claim against

defendants).

      Additionally, there are no factual allegations in the complaint of “willful

misconduct, malice, fraud, wantonness, oppression, or that entire want of care

which would raise the presumption of conscious indifference to consequences” or

bad faith or stubborn litigiousness to justify an award of punitive damages or

attorney’s fees under state law. Nor are there any factual allegations of “malice” or

“reckless indifference” to plaintiff’s federally protected rights that would justify an

award of punitive damages against defendants under federal law. See Kolstad v.

Am. Dental Ass’n, 527 U.S. 526, 535 (1999) (stating that “malice or . . . reckless

indifference to the [plaintiff’s] federally protected rights” justifies an award of


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punitive damages under Section 1983); Reynolds v. CSX Transportation, Inc., 115

F.3d 860, 869 (11th Cir. 1997). Therefore, defendants are entitled to dismissal of

plaintiff’s claims for punitive damages and attorney’s fees.

                              III.   CONCLUSION

      As shown above, plaintiff’s complaint should be dismissed.

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                     CERTIFICATE OF COMPLIANCE

      I hereby certify, pursuant to Local Rule 7.1(D), that the foregoing

memorandum of law has been prepared in accordance with Local Rule 5.1(C)

(Times New Roman font, 14 point).

      This 8th day of October, 2021.

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                         CERTIFICATE OF SERVICE

      I hereby certify that I have served the foregoing MEMORANDUM OF

LAW IN SUPPORT OF DEFENDANTS’ MOTION TO DISMISS

PLAINTIFF’S COMPLAINT to the Clerk of Court using the CM/ECF system

which will automatically send electronic mail notification of such filing to counsel

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